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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : No. 3:23-CR-147

V. : (JUDGE MANNION)
DARYL RINKER, : (Electronically Filed)
Defendant
WAIVER OF INDICTMENT

1. J understand that I am charged with a felony and, therefore,
that I have the right to have the case presented to a grand jury. I
further understand that a grand jury consists of not less than sixteen (16)
nor more than twenty-three (23) members, at least twelve (12) of whom
must concur in the return of an indictment. Thus, by waiving
indictment, I concede that had the case been presented to a grand jury,
an indictment would have been returned.

2. I am represented by attorney, Christopher P. Caputo,
Esquire; I fully understand that I have the right to be represented by an
attorney at every stage of this proceeding and, if necessary, one will be
appointed to represent me. I have discussed this matter with my

attorney and am satisfied with his representation of me in this
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proceeding.
3. I fully understand this statement, consisting of two (2)

typewritten pages.

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DARYL FE AINKERO Gosnell or De P. CAPUTO, ESQ
Defendant LCase for Defendant

